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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

DAVID MILLER and MARTHA MILLER,

       Plaintiffs,

v.                                                     Case No: 8:18-cv-2679-T-35AAS

ALLY FINANCIAL, INC.,

       Defendant.



                                         ORDER

       THIS CAUSE comes before the Court for consideration of the Parties’ Joint Motion

to Stay and Submit Case to Arbitration. (Dkt. 4) In the Motion, the Parties state that

they “have agreed to submit this matter to arbitration.” (Id.)

       In light of the Parties’ stipulation, the Court hereby ORDERS that this proceeding

is STAYED pending arbitration.      The Clerk is directed to TERMINATE all motions

pending before the Court and ADMINISTRATIVELY CLOSE this case. The Parties shall

have fourteen (14) days after the completion of arbitration to file a notice or appropriate

motion advising the Court how and whether this case should proceed.

       DONE and ORDERED in Tampa, Florida, this 27th day of November, 2018.




Copies furnished to:
Counsel of Record
Any Unrepresented Person
